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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                          )    Case No. 1:20-cr-77
                                                   )
                Plaintiff,                         )
                                                   )    Judge Timothy S. Black
         v.                                        )
                                                   )
LARRY HOUSEHOLDER,                                 )
                                                   )
                Defendant.                         )

                     REPLY IN SUPPORT OF
DEFENDANT LARRY HOUSEHOLDER’S MOTION TO DISMISS THE INDICTMENT

I.       INTRODUCTION

         If the government had properly pleaded the elements of the offense charged, it would

have no problem ticking off those elements in its opposition. Instead, its arguments are that the

Court does not even have the authority to dismiss a legally defective indictment and that the

pleading standard is so relaxed that it can go straight to the jury to test its legal theories. But a

criminal defendant is entitled to notice of the charges against him, and the Rules of Criminal

Procedure require the government to plead the essential elements of the offense charged. The

government has failed on both counts. It mistakes the breadth and the length of the Indictment

for notice, and it mistakes the circular allegations and legal conclusions for the essential elements

of the offense charged. More is required. The Court should grant the motion to dismiss. (Doc.

105).

II.      ARGUMENT

         A.     The government must allege the essential elements of the offense charged.

         The Federal Rules of Criminal Procedure require the government to plead in its

indictment “the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c). Although


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the Court may not weigh the proofs at the pleading stage, United States v. DeLaurentis, 230 F.3d

659, 661 (3d Cir. 2000), the Court may assess whether, accepting the government’s allegations

as true, the allegations state an offense, Fed. R. Crim. P. 12(b)(3)(B)(v); United States v.

Superior Growers Supply, Inc., 982 F.2d 173, 178 (6th Cir. 1992) (affirming district court’s

dismissal of indictment). If they do not, then there is no need for a trial and the Court should

dismiss the Indictment. Superior Growers, 982 F.2d at 178; United States v. Pirro, 212 F.3d 86,

95 (2d Cir. 2000).

         To be sure, as the government points out, courts have held indictments sufficient when

they merely track the language of the statute. (Opp. at 25501). But this rule only applies when the

language of the statute “set[s] forth all the elements necessary to constitute the offence intended

to be punished.” Hamling v. United States, 418 U.S. 87, 117 (1974) (cleaned up). When the

language of the statute does not set forth all the necessary elements of the offense, the indictment

must do more than simply repeat the language of the statute. See, e.g., United States v. Martinez,

800 F.3d 1293, 1295 (11th Cir. 2015); Pirro, 212 F.3d at 93 (“where an indictment charges a

crime that depends in turn on violation of another statute, the indictment must identify the

underlying offense”). And here, the government’s allegation of a RICO conspiracy requires that

it plead the essential elements of a RICO conspiracy: “(1) the existence of an enterprise which

affects interstate or foreign commerce; (2) the defendant’s association with the enterprise; (3) the

defendant’s participation in the conduct of the enterprise’s affairs; and (4) that the participation

was through a pattern of racketeering activity.” United States v. Fowler, 535 F.3d 408, 418 (6th

Cir. 2008). By arguing that the government must plead the essential elements of the crime




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            All page number references are to the page identification number generated by the Court’s electronic
filing system.


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charged, Householder is not asking the Court to weigh the sufficiency of the government’s

evidence; he is simply asking the Court to evaluate whether the government has pleaded the

essential elements of this offense.

         The government’s pleading suggests that it too believes that it must do more than simply

repeat the language of the statute. If the government thought all it needed to do was simply track

the language of the RICO statute and state the time and place of the alleged crime, it could have

accomplished that in a couple paragraphs. Instead, its Indictment spans 135 paragraphs over 43

pages. The Court should evaluate those factual allegations (accepting them as true) and decide

whether the Indictment states an offense. See United States v. Urso, 369 F. Supp. 2d 254, 267

(E.D.N.Y. 2005) (“while an indictment may set forth individual identifying characteristics of the

charged crime in ‘approximate terms,’ each allegation, read in the context of the whole

indictment, must still be pled with sufficient factual particularity such that the defendant is able

to prepare to meet the government’s charges, and such that all concerned parties, including the

court, can be confident that the government's case at trial will reflect the evidence presented to

the grand jury. If either test is not met, then the indictment is too vague, and must be

dismissed.”). For the reasons set forth in Householder’s motion (Doc. 105) and below, the

Indictment does not state an offense. The Court should grant the motion to dismiss.

         B.     The Indictment does not sufficiently plead the existence of an “enterprise.”

         The enterprise allegation here is utterly circular: according to the government, “the

Indictment alleges the defendants and others constituted an ‘enterprise’ comprised of ‘a group of

individuals and entities associated in fact’ that ‘constituted an ongoing organization whose

members functioned as a continuing unit for the common purpose of achieving the objectives of

the enterprise.’” (Opp. at 2553) (quoting Indictment ¶ 22). This definition provides no specificity



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as to what that common purpose is. It does not allege relationships among the purported RICO

members. And to the extent the Indictment’s mention of “the objectives of the enterprise” is

meant to reference predicate offenses, it confuses and wrongly equates one element of RICO (an

enterprise created through a common purpose and relationships) with another (a pattern of

racketeering activity). Such an allegation is insufficient to state a claim under the RICO statute.

         The government’s reliance on the Third Circuit’s decision in United States v. Bergrin,

650 F.3d 257 (3d Cir. 2011), is misplaced. (Opp. at 2553). There, unlike here, the government’s

allegations satisfied “the Boyle requirements: purpose, relationships among the members

(though, again, relatively loose and informal), and longevity sufficient to enable the [enterprise]

to pursue its goals of, inter alia, making money and protecting its own members and criminal

schemes.” Bergrin, 650 F.3d at 269.2 For this reason, whether the government has adequately

pleaded a RICO enterprise is not a jury question. To the contrary, the existence of an association-

in-fact enterprise is an essential element of the charge that must be pleaded with specificity. See

Hamling v. United States, 418 U.S. 87, 117–18 (1974). Thus, contrary to United States v. Kelly,

462 F. Supp. 3d 191 (E.D.N.Y. 2020), the government must plead sufficient facts to show the

existence of an association-in-fact enterprise.

         Lastly, the government does not respond to Householder’s argument that the Indictment

alleges a rimless wheel and spoke conspiracy. “Most courts have found that complaints alleging

hub-and-spoke enterprises fail to satisfy the RICO enterprise requirement.” In re Pharm. Indus.

Average Wholesale Price Litig., 263 F. Supp. 2d 172, 183 (D. Mass. 2003) (collecting cases).

Here, though, the Defendants—the spokes on the proverbial wheel—allegedly engaged in




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           Bergrin also dispenses with the government’s reliance on district court cases for the proposition that it
need not plead the elements of an association-in-fact enterprise.


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parallel conduct, which is insufficient to make out an association-in-fact enterprise. See, e.g., In

re Neurontin Mktg., Sales Practices, & Prods. Liab. Litig., 433 F. Supp. 2d 172, 182–83 (D.

Mass. 2006) (finding a “hub-and-spoke model with Defendant at the center managing several

independent relationships” to be insufficient to establish a RICO enterprise “because there [was]

no ‘rim’ to connect the spokes of the wheel”); Elsevier Inc. v. W.H.P.R., Inc., 692 F. Supp. 2d

297, 306–07 (S.D.N.Y. 2010) (noting that an association-in-fact required “something more than

parallel conduct of the same nature and in the same time frame by different actors in different

locations”). “For a wheel conspiracy to exist, those people who form the wheel’s spokes must

have been aware and must do something in furtherance of some single, illegal enterprise. If not,

there is no rim to enclose the spokes.” United States v. Chandler, 388 F.3d 796, 808 (11th Cir.

2004) (cleaned up).

         Because the Indictment does not sufficiently allege an association-in-fact enterprise, the

Court should dismiss the Indictment.

         C.     The Indictment does not sufficiently plead a pattern of racketeering activity.

         A RICO conspiracy Indictment must allege that each Defendant agreed that two or more

predicate acts be committed. Salinas v. United States, 522 U.S. 52, 65 (1997). Thus, the

agreement between the purported RICO participants is a critical element of a charge under 18

U.S.C. § 1962(d), and one that requires specific factual allegations. See Hamling v. United

States, 418 U.S. 87, 117–18 (1974) (stating that while an indictment may use the language of the

statute “in the general description of an offence . . . it must be accompanied with such a

statement of the facts and circumstances as will inform the accused of the specific offence,

coming under the general description, with which he is charged” (quoting United States v. Hess,

124 U.S. 483, 487 (1888)).



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         The government’s allegations here fall short. The Indictment does not come close to

alleging facts that, if proven, would show that the Defendants agreed to engage in conduct that’s

actually proscribed by the federal bribery laws or the other predicates. To the contrary, the

government’s bribery allegations do not amount to showing an explicit quid pro quo agreement,

which the Supreme Court requires. Worse, the government tries to use purported violations of

Ohio state law to shore up its RICO charge. But because an Ohio court would not allow these

violations to be prosecuted, neither should this Court. The Indictment is thus defective and

should be dismissed.

         1. The Indictment does not sufficiently allege the federal bribery predicates. The

government does not dispute that the Hobbs Act and honest service predicates3 require the

government to show a quid pro quo payment to a public official in exchange for official action.

         The government fails to show that it alleged an explicit quid pro agreement.4 True,

explicit does not mean express, and it “speaks not to the form of the agreement between the

payor and payee, but to the degree to which the payor and payee were aware of its terms,

regardless of whether those terms were articulated.” United States v. Sittenfeld, 522 F. Supp. 3d

353, 369 (S.D. Ohio 2021) (emphasis added and quoting United States v. Blandford, 33 F.3d



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             We address the private-sector honest services fraud allegations below.
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            Although the government does not press this argument here, it suggests that it need not show an explicit
quid pro quo agreement because “the payments here should [not] be afforded the same protection as campaign
contributions that are publicly disclosed.” (Opp. at 2558 n.2). It cites no authority that allegedly “secret” campaign
contributions should be treated differently than publicly disclosed contributions. For good reason. The Supreme
Court has explained that because “[t]he right to participate in democracy through political contributions” is protected
by the Constitution,” McCutcheon v. FEC, 572 U.S. 185, 191 (2014), a political contribution can only be a bribe if
“payments are made in return for an explicit promise or undertaking by the official to perform or not to perform an
official act” and the official agrees that “his official conduct will be controlled by the terms of the promise or the
undertaking.” McCormick v. United States, 500 U.S. 257, 273 (1991) (emphasis added). It matters not one bit
whether the contributions are made publicly or “secretly” because the Supreme Court will “err on the side of
protecting political speech rather than suppressing it.” McCutcheon, 572 U.S. at 209 (cleaned up). Nor may the
Court distinguish between allegedly legitimate and illegitimate campaign contributions. See McCormick, 500 U.S. at
272.


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685, 696 (6th Cir. 1994)). Householder’s argument though is not that the agreement need be

express; to the contrary, his argument is that the government must allege facts that show the

payor (FirstEnergy) and payee (Householder) were aware of the terms of the quid pro quo. And

here, the government’s allegations are woefully lacking. It alleges no interactions between the

payor and payee to set the terms of the alleged quid pro quo. Thus, it failed to allege facts

showing an explicit quid pro quo agreement.

         The government’s allegations of payment in exchange for official action are also

insufficient. Under the Sixth Circuit’s caselaw, whether something counts as an official act is a

two-part test: (1) “an official act must involve an official issue—a question, matter, cause, suit,

proceeding or controversy” and (2) “the public official must have made a decision or taken an

action, or agreed to do so, on that official issue.” Dimora v. United States, 973 F.3d 496, 503

(6th Cir. 2020) (cleaned up). What this means is that “the official must make a decision or take

action, or promise to do so, on the particular question or matter at the time he receives payment

or other things of value.” United States v. Hills, __ F.4th __, 2022 U.S. App. LEXIS 5669, at *25

(6th Cir. Mar. 3, 2022) (citing McDonnell v. United States, 136 S. Ct. 2355, 2374 (2016)).5

Although the government need not link specific contributions to specific official actions, the

government must show that at the time Householder (or Generation Now) received

contributions, Householder agreed to take (or did take) official actions on the official issue. On

this fulcrum point, the government’s allegations fall short. The government says that the bribe

payments began in March 2017 (Indictment ¶ 41), yet the only official actions alleged occurred

years later. See id. What McDonnell and the cases following it, including the Sixth Circuit’s



         5
           “[W]ithout a requirement that an official must promise to influence a particular question or matter, any
official who accepts a thing of value and then later acts to the benefit of the donor, in any manner, could be
vulnerable to criminal prosecution.” United States v. Silver, 948 F.3d 538, 558 (2d Cir. 2020).


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recent published decision in Hills, require though is that at the time of the payment, the public

official must agree to take official action on a specific and focused matter. See also Huff v.

FirstEnergy Corp., 972 F. Supp. 2d 1018, 1034 (N.D. Ohio 2013) (“Where, as here, the alleged

bribe is a campaign contribution, the facts must show that the contribution was given ‘in return

for a specific official action . . . No generalized expectation of some future action will do.’”). The

government’s allegations that Generation Now received contributions for years before

Householder took any official action6 do not meet these requirements.

         The government’s response is that the existence of a quid pro quo is a factual issue for

the jury. (Opp. at 2562-63). But the Court may evaluate the government’s allegations for whether

they state the essential elements of the offense charged. And in the context of the federal bribery

predicates, the official act requirement is an essential element. See McDonnell v. United States,

136 S. Ct. 2355, 2372 (2016). Thus, the government must sufficiently plead these allegations—

otherwise, dismissal is warranted. United States v. Superior Growers Supply, Inc., 982 F.2d 173,

178 (6th Cir. 1992) (affirming district court’s dismissal of indictment).

         Nor do the government’s other factual allegations move the needle. It matters naught that

the contributions were made to Generation Now, an entity organized under section 501(c)(4) of

the Internal Revenue Code. This is because “unlike Super PACs, 501(c)(4) organizations are not

legally obligated to publicly disclose the names of their donors or the amounts of the donations”

except to the IRS with respect to donations more than $5,000. NorCal Tea Party Patriots v.

Internal Revenue Serv., 2016 WL 8202966, at *3 (S.D. Ohio Nov. 22, 2016). There are no limits



         6
           Or even could take official action. For example, the government alleges that Householder’s official acts
included “creating a House subcommittee” and “using his position as Speaker to pressure and advise public officials
to take official actions.” Indictment ¶ 41. These are actions that Householder could not have agreed to take in March
2017 because he was not yet Speaker of the Ohio House. Indictment ¶ 2 (alleging that Householder began serving as
Speaker in January 2019).


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to the amounts that a person may contribute to a 501(c)(4). Id. at *4 (noting that, under the tax

code, a 501(c)(4) organization can accept unlimited contributions from all types of donors,

including individuals). Thus, the government’s complaints about these allegedly “secret”

payments are complaints about perfectly lawful conduct. If it thinks contributions to 501(c)(4)

entities should be unlawful, it should look to the legislative branch—not the judicial branch.7 Nor

do the statements of the other Defendants show that Householder entered into a quid pro quo

arrangement. (See Opp. at 2563-64) (citing statements of the other Defendants, not

Householder).8

         The government failed to plead sufficient facts to support the federal bribery predicates.

         2. Nor is the private-sector honest services fraud allegation sufficient. The government

concedes that although it must prove a breach of a fiduciary duty to show private-sector honest

services fraud, it need not allege the violation of the duty. (Opp. at 2564). Even so, it should be

required to define the source and scope of this purported duty. See SEC v. Chenery Corp., 318

U.S. 80, 85–86 (1943) (“[T]o say that a man is a fiduciary only begins [the] analysis . . . What

obligations does he owe as a fiduciary?”); Skilling v. United States, 561 U.S. 358, 417-19 (2010)

(noting the wide disagreement among courts as to the source and scope of fiduciary duties)

(Scalia, J., concurring). But it does not do so. Instead, it resorts to circular reasoning: the

fiduciary duty was the Ballot Campaign’s employees alleged duty to provide honest services to

the Campaign. Without greater specificity on the source and scope of this alleged duty,

Householder cannot adequately prepare to defend this charge.



        7
          This conduct—complaints about lawful activity—is exactly the type of prosecutorial overreach the
Supreme Court has recently and repeatedly cautioned against. See Kelly v. United States, 140 S. Ct. 1565, 1574
(2020).
        8
          The only Householder-specific allegation the government points to his statement that “we only put in
what they needed.” Indictment ¶ 99 (Doc. 22).


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         3. The Travel Act predicate should be dismissed. To support its use of the Travel Act as

a RICO predicate, the government alleges that the Defendants agreed to violate Ohio Rev. Code

§ 3517.22(A)(2) (Indictment ¶ 33), which if charged in state court is punishable by

“imprison[ment] for not more than six months or [a] fine[ of] not more than five thousand

dollars, or both.” Ohio Rev. Code § 3517.992(V). The problem: Ohio’s General Assembly

plainly stated that § 3517.22 offenses should be heard first by the Ohio Elections Commission,

not a grand jury. § 3517.22(C). Thus, allowing federal prosecutors to prosecute this offense

(through the Travel Act) constitutes an expansive use of the Travel Act that the Supreme Court

warned “would alter sensitive federal-state relationships, could overextend limited federal police

resources, and might well produce situations in which the geographic origin of customers, a

matter of happenstance, would transform relatively minor state offenses into federal felonies.”

Rewis v. United States, 401 U.S. 808, 812 (1971).

         For this reason, unlike the RICO statute, the Travel Act is narrowly construed to maintain

the delicate balance between the federal government and the states. See id. at 811-12; United

States v. Hathaway, 534 F.2d 386, 397-398 (1st Cir. 1976) (“In contrast to the broad

interpretation given to the Hobbs Act, the Supreme Court has indicated that the Travel Act is to

be read in a narrower and more restricted fashion”); United States v. Nader, 542 F.3d 713, 721-

22 (9th Cir. 2008) (“The Travel Act establishes only concurrent federal jurisdiction over what

are already state or local crimes … The federal government cannot usurp state authority via the

Travel Act because a state must first decide that the conduct at issue is illegal.”). Here, Ohio’s

legislature made the policy decision that before any prosecution under § 3517.22 may proceed,

the Ohio Elections Commission should hear the matter and decide whether to “[r]efer the matter

to the appropriate prosecutor.” § 3517.155(A)(1)(c). This Court, given the federalism concerns



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the Supreme Court has recognized that are inherent with the Travel Act, should respect Ohio’s

decision to vest criminal prosecution of § 3517.22 with the Ohio Elections Commission, not

federal prosecutors. See United States v. Ferber, 966 F. Supp. 90, 106 (D. Mass. 1997).

         This holds even if the government need not prove a violation of § 3517.22(C). What

matters is whether Ohio has decided the conduct at issue is illegal. Nader, 542 F.3d at 721-22.

And under the statute, Ohio has decided that the conduct is illegal and may be prosecuted only if

the Ohio Elections Commission refers the matter for prosecution. Ohio Rev. Code

§ 3517.22(A)(2); § 3517.155(A)(1)(c). Because the Ohio Elections Commission has not made

any referral, the Travel Act predicate should be dismissed.

         4. Conspiracy to commit bribery is not chargeable under Ohio law. Congress only

permitted federal prosecutors to use state law offenses as RICO predicates if the state law bribery

offense is “chargeable under State law and punishable by imprisonment for more than one year.”

18 U.S.C. § 1961(1)(A). The Court’s analysis should begin and end with the plain language of

the statute. See United States v. Turner, 465 F.3d 667, 671 (6th Cir. 2006) (“In interpreting a

statute, this court looks first to its plain language.”). The plain language shows that the

government’s attempt to use Ohio bribery offenses as a predicate to support conspiracy to violate

the RICO statute is flawed. Conspiracy to commit state-law bribery is not chargeable in Ohio—a

principle the government does not dispute. See Ohio Rev. Code § 2923.01. The Court should

thus dismiss this predicate offense. Cf. Donahue v. FBI, 204 F. Supp. 2d 169, 174 (D. Mass.

2002) (dismissing civil RICO complaint against FBI because “federal agencies are immune from

state or federal criminal prosecution, and thus cannot satisfy the ‘racketeering activity’

requirement for civil RICO liability, because they are not ‘chargeable,’ ‘indictable,’ or

‘punishable’ for the offenses listed in 18 U.S.C. § 1961(1)”).



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         The government’s response is misdirection. It says that the Indictment alleges a

substantive violation of Ohio state law. (Opp. at 2568). Not so. The government alleged a RICO

conspiracy—not a substantive violation of the RICO statute. See generally Indictment (Doc. 22).

This means the government must show, among other things, “an agreement that at least two

predicate acts would be committed by at least one of the coconspirators.” United States v. Hills,

__ F.4th __, 2022 U.S. App. LEXIS 5669, at *12 (6th Cir. Mar. 3, 2022) (emphasis added); (see

also Opp. at 2566) (“Thus, because the agreement is the crime, conviction on a charge of RICO

conspiracy does not require the government to prove that any predicate act was actually

committed at all.”) (emphasis added and cleaned up). That is, in other words, a conspiracy to

commit the predicate offenses. But that—a conspiracy to commit Ohio bribery—is not

chargeable under Ohio state law.

         More to the point, this all means the government is using the Ohio state statute in a novel

fashion, which deprives Householder of fair warning. United States v. Genova, 333 F.3d 750,

759 (7th Cir. 2003). The government’s response is that its use of the RICO statute is supported

by “straightforward application of the statute’s plain language.” (Opp. at 2568). But Genova

stands for the principle that the government may not advance a “novel” interpretation of a state

offense as a RICO predicate. 333 F.3d at 759. There, a city mayor awarded comp time for

political work, which the government alleged constituted bribery under Illinois state law to

support a RICO offense. Id. at 757. But—like here—the government conceded that “no Illinois

decision supports its view that using public funds to pay municipal employees for political labor

is bribery under 720 ILCS 5/33-1, and it would deprive [the defendant] of fair warning to put that

statute to such a novel use in order to secure his conviction for violating RICO.” Id. at 759. So

too here. And contrary to the government’s contention, what matters is whether it is putting a



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state statute to novel use to secure a RICO conviction. There’s no dispute that’s what the

government is doing, trying to fashion conspiracy to commit state-law bribery into a RICO

predicate. Because Ohio law does not permit it do so, the Court should dismiss this predicate

offense.

         The government thus cannot use § 2921.02 of the Ohio Revised Code as a predicate to

support its RICO conspiracy charge. The Court should dismiss this from the Indictment.

         5. The money-laundering allegations do not save the Indictment. Even if the money-

laundering predicates survive a motion to dismiss, the RICO conspiracy Indictment should still

be dismissed. A RICO conspiracy Indictment must allege that each Defendant agreed that two or

more predicate acts be committed. Salinas v. United States, 522 U.S. 52, 65 (1997). A violation

of the money-laundering statute is just one predicate act. The Indictment should be dismissed.

III.     CONCLUSION

         For these reasons, the Court should dismiss the Indictment.

Dated: March 8, 2022                               Respectfully submitted,

                                                   /s/ Steven L. Bradley
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                                  CERTIFICATE OF SERVICE

         I certify that the foregoing was electronically filed on March 8, 2022. Notice of this filing

will be sent to all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

                                                    /s/ Steven L. Bradley
                                                    Steven L. Bradley (0046622)




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